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 7
 8                     IN THE UNITED STATES DISTRICT COURT
 9                              FOR THE DISTRICT OF ARIZONA
10
     Government Employees Insurance Co.;         No. 2:19-cv-05343-GMS
11   GEICO Indemnity Co.; GEICO
     General Insurance Company and
12   GEICO Casualty Co.,
13                Plaintiffs,                    JOINT NOTICE OF SETTLEMENT
     vs.                                         IN PRINCIPLE AND REQUEST
14
     808 Auto Glass, L.L.C.; Jesse Pacheco;      FOR THIRTY(30) DAYS TO
15   A&E Solheim, L.L.C. d/b/a A&E Auto          COMPLETE SETTLEMENT
     Glass; Eric A. Solheim; Anna M.
16   Solheim; Lightning Capital, L.L.C. and
     Nicholas Minard,
17
                  Defendants.
18
19         Plaintiffs and Defendants Lightning Capital, L.L.C. and Nicholas Minard (the
20 “Lightning Defendants”) hereby inform the Court that they have reached a settlement
21 in principle, subject to documentation, which will result in a dismissal of the
22 Lightning Defendants from this matter. Based on the foregoing, the Parties jointly
23 request that the Court allow the Parties thirty (30) days to complete the settlement
24 documentation before the Court takes further action in the above-captioned matter.
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     Dated: December 18, 2019.
 1
 2                                     JENNINGS, STROUSS & SALMON, P.L.C.

 3
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                                       By /s/ Steven Henesy (with permission) __
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                                          Steven Henesy
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16                                        And
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 1
 2                           CERTIFICATE OF SERVICE

 3   ☒ I hereby certify that on December 18, 2019, I electronically transmitted the
 4   attached document to the Clerk’s Office using the CM/ECF System for filing and
     transmittal of a Notice of Electronic Filing to the following CM/ECF registrants:
 5
     ☐ I hereby certify that on           , 2019, I served the attached document via
 6   U.S. mail and email on the following, who are not registered participants of the
 7   CM/ECF System:

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